         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2024-0498
                  L.T. Case No. 2020-CF-2460
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HERIBERTO CRUZ-VARGAS,

    Appellant,

    v.

CLERK of the CIRCUIT COURT,
SEMINOLE COUNTY, FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Seminole County.
Jessica J. Recksiedler, Judge.

Heriberto Cruz-Vargas, Crawfordville, pro se.

No Appearance for Appellee.

                        August 20, 2024

PER CURIAM.

    AFFIRMED. See Fla. R. App. P. 9.315(a).

MAKAR, KILBANE, and PRATT, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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